             Case 2:99-cr-80796-RHC ECF No. 384, PageID.963 Filed 04/26/16 Page 1 of 1
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)           Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                          Eastern District of Michigan

                    United States of America
                               v.                                          )
                                                                           )
                                                                           ) Case No: 99-80796-2
                    IRVIN LAMON UPSHAW
                                                                           ) USM No: 26903-039
Date of Original Judgment:         3/26/2002                               )
Date of Previous Amended Judgment: 3/3/2005                                ) Pro Se
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney



                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of u the defendant u the Director of the Bureau of Prisons u          ✔ the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           ✔
           u DENIED. u GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of                   months is reduced to                                      .
                                             (Complete Parts I and II of Page 2 when motion is granted)




Except as otherwise provided, all provisions of the judgment dated                            3/3/20015             shall remain in effect.
IT IS SO ORDERED.

Order Date:          April 20, 2016                                  s/Robert H. Cleland
                                                                                                         Judge’s signature


Effective Date:                                                      Robert H. Cleland, U.S. District Judge
                     (if different from order date)                                                    Printed name and title
